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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 24-60126-LEIBOWITZ/AGUSTIN-BIRCH



 UNITED STATES OF AMERICA,

 Vs.

 JANICE ELEANOR TURNER and
 KISEAN PAUL ANDERSON, a/k/a
 SEAN KINGSTON,
            Defendants.
 ________________________________/
         DEFENDANT, KISEAN PAUL ANDERSON A/K/A SEAN KINGSTON’S
       UNOPPOSED MOTION TO TRAVEL FOR BUSINESS PURPOSE TO DUBAI


        COMES NOW Defendant, KISEAN PAUL ANDERSON a/k/a SEAN KINGSTON, by
 and through his undersigned counsel and hereby files this unopposed motion to travel to Dubai to
 perform for business purposes and alleges as follows:
        1.      Mr. Anderson a/k/a Sean Kingston, entered into a performance contract wherein
 he would perform at Dubai Media Center on November 20th, 2024.
        2.      The Defendant seeks this Honorable Court’s permission to travel to Dubai to
 honor the performance contract. The Defendant will leave for Dubai on or about November 28th,
 2024 for the November 30th performance. The Defendant will return to Broward County, Florida
 on December 4th, 2024.
        3.      Pursuant to the appearance bond conditions, the Defendant has furnished his
 itinerary to Tanya Okun of Pretrial Services. Ms. Okun has no objection to the Defendant being
 able to travel to Dubai. Undersigned counsel has spoken to AUSA, Marc S. Anton, who does not
 oppose this motion to travel.
        WHEREFORE, the Defendant respectfully requests that this Honorable Court grant this
 unopposed motion to travel for business purposes.
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was filed with viia e-

 portal and copied to: Marc S. Anton, AUSA, 500 East Broward Blvd., Suite 700, Ft. Lauderdale,

 Fl 33394, marc.anton@usdoj.gov and Tanya Okun at: tanya_okun@flsp.uscourts.gov this

 21st day of November, 2024.

                                           Respectfully Submitted,

                                           /s/: ROBERT A. ROSENBLATT
                                           THE ROSENBLATT LAW FIRM
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                                           Second Floor
                                           Pinecrest, Florida 33156
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                                           Attorney for Kisean Anderson
                                           aka Sean Kingston
